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                                                     Hearing Date: July 17, 2024 at 10:00 a.m.
                                                     Response Deadline: July 10, 2024
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Attorneys for Toorak Capital Partners, LLC

UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


 In re:
                                                      Case No. 1:23-43911-jmm
 Tracy Hardyal aka Tracy Lopa,
                                                      Chapter 11
                     Debtor.


             NOTICE OF MOTION OF SECURED CREDITOR TOORAK CAPITAL
                  PARTNERS, LLC TO CONVERT CASE TO CHAPTER 7

          PLEASE TAKE NOTICE that a hearing before the Honorable Jil Mazer-Marino, United

States Bankruptcy Judge, United States Bankruptcy Court for the Eastern District of New York,

271-C Cadman Plaza East, Brooklyn, New York 11201-1800 shall be held on July 17, 2024 at

10:00 a.m. on the motion filed by secured creditor Toorak Capital Partners, LLC (“Movant”)

seeking an order converting this bankruptcy case to Chapter 7, together with such other and further

relief as the Court deems just and proper (the “Motion”).

          PLEASE TAKE FURTHER NOTICE that objections, if any, to the Motion must be in

writing and filed with the Court by July 10, 2024 (the “Objection Deadline”), through the Court’s

electronic filing system. Instructions for electronically filing an objection can be found at



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www.nyeb.uscourts.gov. A copy of the objection must also be mailed, so as to be received by the

Objection Deadline, to the undersigned counsel below.

         PLEASE TAKE FURTHER NOTICE that the hearing shall be held in person,

telephonically or by video. Those intending to appear at the hearing must register with eCourt

Appearances no later than two days prior to the hearing. The phone number or video link for the

hearing will be emailed to those that register with eCourt Appearances in advance of the hearing.

Instructions    for   registering     with    eCourt     Appearances      can    be     found     at

https://www.nyeb.uscourts.gov/node/2126. If you do not have internet access or are otherwise

unable to register with eCourt Appearances, you may call or email Judge Mazer-Marino’s

courtroom deputy at least two (2) business days prior to hearing for instructions at (347) 394-1844,

JMM_Hearings@nyeb.uscourts.gov.

         PLEASE TAKE FURTHER NOTICE that the hearing on the Motion may be adjourned

without notice other than an announcement in open Court.

Dated: June 7, 2024



                                              POLSINELLI PC

                                              By: /s/ Jane Pearson
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UNITED STATES BANKRUPTCY COURT
EASTERN DISTRICT OF NEW YORK


 In re:
                                                          Case No. 1:23-43911-jmm
 Tracy Hardyal aka Tracy Lopa,
                                                          Chapter 11
                       Debtor.


       MOTION OF SECURED CREDITOR TOORAK CAPITAL PARTNERS, LLC
                     TO CONVERT CASE TO CHAPTER 7

           Secured creditor Toorak Capital Partners, LLC (“Lender”), for its Motion to Convert Case

to Chapter 7 (the “Motion”) pursuant to 11 U.S.C. § 1112, hereby states as follows.

                               I.      PRELIMINARY STATEMENT

           1.     This chapter 11 case is the third bad faith bankruptcy filing on the eve of foreclosure

of commercial property and the latest abuse of the Bankruptcy Code by Debtor Tracy Hardyal

(“Debtor”) and Debtor’s husband, Frank Lopa (“Lopa” and together with Debtor, “Borrowers”),

designed solely to hinder and delay Lender’s legitimate attempts to foreclose its commercial deed

of trust encumbering real property with a common address of 129 21st Ave. E and 133 21st Ave.

E, Seattle, Washington 98122 (the “Property”).


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           2.   This case is marked by continuing loss to or diminution of the bankruptcy estate -

which consists almost entirely of the Property - at Lender’s expense. Debtor has no real business,

and even without making any payments to Lender for over four years, Borrowers have not paid

property taxes on the Property for at least three years, so there is no hope of Debtor’s rehabilitation

or ability to effectuate a plan of reorganization.

           3.   The Court should put an end to Borrowers’ serial attempts to impede and forestall

Lender’s legitimate attempts to foreclose its deed of trust on the Property to satisfy a portion of

the indebtedness owed to it, and grant relief that places control of the Property in a chapter 7 trustee

so that the trustee can control and administer the Property in the best interest of creditors (which

overwhelmingly consists of Lender) and the estate.

           4.   Cause exists for the Court to convert this chapter 11 case to a case under chapter 7

so that a chapter 7 trustee can take control of and administer the Property.

                                        II.    JURISDICTION

           5.   This Court has jurisdiction to hear and determine this Motion pursuant to 28 U.S.C.

§ 157(a), (b)(1), (b)(2)(A) and (O).

           6.   Venue of this Motion is proper in this Court pursuant to 28 U.S.C. §§ 1408 and

1409(a). Debtor resides within this District. [See Dkt # 1]

                               III.      FACTUAL BACKGROUND

           7.   Lender is the current owner and holder of that certain Commercial Promissory

Note, dated October 7, 2019, in the original principal amount of $1,800,000.00 (the “Note,” and

the loan evidenced thereby being hereinafter referred to as the “Loan”), the makers of which are

Borrowers. Declaration of Stephen J. Tyde, Jr. in Support of Motion of Secured Creditor Toorak

Capital Partners, LLC to Convert Case to Chapter 7 (“Tyde Decl.”), filed herewith, at ¶ 5; Exhibit

A thereto.

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           8.    In connection with the Loan, Borrowers executed that certain Commercial

Guaranty, dated October 7, 2019 (the “Guaranty”), pursuant to which Borrowers irrevocably and

unconditionally guaranteed performance of certain obligations owed in connection with the Loan.

(Tyde Decl., at ¶ 6; Exhibit B thereto).

           9.    To secure the indebtedness owed in connection with the Loan, Borrowers executed

that certain Deed of Trust, Security Agreement and Fixture Filing, dated October 7, 2019, and

recorded on November 12, 2019, as Instrument No. 20191112001474, records of King County,

Washington (the “Deed of Trust”). (Tyde Decl., at ¶ 7; Exhibit C thereto).

           10.   Pursuant to the Deed of Trust, Lender has a first priority lien on and security interest

in the Property, the improvements thereon, and personal property used in connection therewith.

The Property consists of two multi-family buildings, which, together, contain 7 individual units

(Tyde Decl., at ¶ 7).

           11.   Borrowers are the fee owners of the Property. (Tyde Decl., at ¶ 9).

           12.   Lender is the current holder and owner of the Note, the Guaranty, the Deed of Trust,

and all other documents and instruments further evidencing, securing, or executed in connection

with the Loan (collectively, the “Loan Documents”). (Tyde Decl., at ¶ 10).

           13.   Borrowers defaulted under the Note and other Loan Documents by failing to make

the required monthly payment for May 2020 and all subsequent monthly payments. (Tyde Decl.,

at ¶ 11).

           14.   On or about July 2, 2020, Lender, through its servicer, issued a Notice of Default,

and on or about July 28, 2020, Lender, through its attorneys, a Notice of Acceleration. (Tyde Decl.,

at ¶ 12; Exhibit D and Exhibit E thereto).

           15.   The Note matured by its terms on November 1, 2020. (Tyde Decl., at ¶ 13).



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           16.    Borrowers have failed to pay the accelerated and then matured indebtedness owed

under the Note and other Loan Documents and remain in default thereunder. (Tyde Decl., at ¶ 14).

           17.    Lender has not received a single payment towards Borrowers’ obligations owed

under the Loan Documents for over four years. (Tyde Decl., at ¶ 15).

           18.    As set forth in Lender’s Proof of Claim, Lender is owed more than $2.8 million by

Borrowers. (Claim 7-1).

           19.    Section 3.04 of the Deed of Trust grants Lender the remedy of foreclosure upon the

Borrowers’ default under the Loan Documents. Section 3.04 states in pertinent part:

           Trustee’s Sale. If any Event of Default occurs, [Lender] is authorized and empowered,
           without further notice, to execute or cause the Trustee to execute a written notice of default
           and of election to cause the [Property] to be sold as required by law or as otherwise
           provided herein, and the Trustee shall file such notice for record in each county wherein
           the [Property] or any part thereof is situated. After such filing, the Trustee may lawfully
           foreclose and shall foreclose the lien of this [Security Instrument] …

           20.    Following Borrowers’ continued defaults under the Loan Documents, and in

accordance with Lender’s rights and remedies thereunder and Washington law, Lender scheduled

a foreclosure sale of the Property to occur on January 13, 2023. (Tyde Decl., at ¶ 16).

           21.    On January 11, 2023, two days before the scheduled foreclosure sale, Lopa filed a

chapter 13 bankruptcy case, title 11, Case No. 23-40080-jmm (the “First Bankruptcy”), in the

United States Bankruptcy Court for the Eastern District of New York (the “Court”). A true and

correct copy of the January 10, 2023 bankruptcy petition is attached hereto as Exhibit 1.

           22.    The First Bankruptcy prevented Lender from proceeding with the January 13, 2023

foreclosure sale. (Tyde Decl., at ¶ 17).

           23.    On March 10, 2023, the Court dismissed the First Bankruptcy on motion of the

chapter 13 trustee because Lopa failed to submit monthly pre-confirmation payments, failed to




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provide and/or file documents, and failed to appear and/or be examined at the § 341 meeting of

creditors. (First Bankruptcy, Dkt. ## 12, 17).

           24.   Following the dismissal of the First Bankruptcy, Lender rescheduled the

foreclosure sale of the Property for May 5, 2023. (Tyde Decl., at ¶ 18).

           25.   On May 5, 2023, the morning of the rescheduled foreclosure sale, Debtor filed a

pro se chapter 13 bankruptcy case, Case No. 23-41586-jmm (the “Second Bankruptcy”), in the

Court. A true and correct copy of the May 5, 2023 bankruptcy petition is attached hereto as

Exhibit 2.

           26.   The Second Bankruptcy again prevented Lender from proceeding with the

foreclosure sale. (Tyde Decl., at ¶ 19).

           27.   On July 21, 2023, the Court dismissed the Second Bankruptcy on motion of the

chapter 13 trustee because Debtor, like Lopa, failed to submit monthly pre-confirmation payments,

failed to provide and/or file documents, and failed to appear and/or be examined at the § 341

meeting of creditors. (Second Bankruptcy, Dkt. Nos. 15, 25, 28).

           28.   Following the dismissal of the Second Bankruptcy, Lender rescheduled the

foreclosure sale of the Property for October 27, 2023. (Tyde Decl., at ¶ 20).

           29.   On October 26, 2023, the day before the rescheduled foreclosure sale, Debtor filed

this bankruptcy case under chapter 11, title 11, United States Bankruptcy Code (the “Third

Bankruptcy”).

           30.   The Third Bankruptcy represents the third bankruptcy filing in 2023 by one of the

Borrowers on the eve of a foreclosure sale of the Property, each filing of which has stayed the

foreclosure of the deed of trust on the Property that secures the Note that matured on November 1,

2020, and on which Borrowers have made no payments since April 2020.



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           31.   Along with the Petition, Debtor filed schedules of her creditors. Lender is the only

secured creditor. Debtor scheduled seven Unsecured Creditors, all of which are for credit card or

consumer debt. Of those seven, four were scheduled as having claims in unknown amounts. The

claims of the remaining three scheduled Unsecured Creditors total $1,743. [Dkt # 1].

           32.   The Property is the only real property Debtor scheduled. [Dkt # 1].

           33.   Debtor’s monthly Operating Reports consistently report very little income and no

employees:

                 November 2023               $45 Total receipts; 0 employees [Dkt # 31]

                 December 2023               $75 Total receipts; 0 employees [Dkt # 32]

                 January 2024                0 Total receipts; 0 employees [Dkt # 40]

                 February 2024               $200 Total receipts; 0 employees [Dkt # 43]

                 March 2024                  0 Total receipts; 0 employees [Dkt # 46]

                 April 2024                  0 Total receipts; 0 employees [Dkt # 47]

           34.   Debtor has not filed a proposed plan or disclosure statement. Under Bankruptcy

Code § 1121, the exclusive period for Debtor to do so ended on February 23, 2024.

           35.   Borrowers have not paid taxes on the Property since 2020 [Tyde Dec., at ¶ 22].

Debtor testified at her section 341 Meeting of Creditors held on January 14, 2024, that Borrowers

had not made payment on the water and sewer for the Property since the summer of 2023. See

Declaration of Jane Pearson in Support of Motion of Secured Creditor Toorak Capital Partners,

LLC to Convert Case to Chapter 7 (“Pearson Decl.”), Exhibit F thereto at pp. 28-29.

           36.   Debtor also testified at her 341 meeting that Borrowers had not received an offer

on the Property within the last year. Pearson Decl., Exhibit F thereto at pp. 37-38.

           37.   Debtor has not filed a motion to retain a broker to market the Property or to sell the

Property.


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                                        IV.      LEGAL ARGUMENT

                     The Court should convert the Third Bankruptcy to a case under chapter 7

           38.       The Court should convert the Third Bankruptcy to a case under chapter 7 and

appoint a chapter 7 trustee to take possession of and administer the Property.

           39.       Under Bankruptcy Code § 1112(b)(1), upon the motion by a party in interest, “the

court shall convert a chapter 11 case to chapter 7 or dismiss a [chapter 11 case], whichever is in

the best interests of creditors and the estate, for cause, unless the court determines that the

appointment … of a trustee or an examiner is in the best interests of creditors and the estate.”

           40.       Under Bankruptcy Code section 1112(b)(4), “cause” includes, among other things:

                substantial or continuing loss to or diminution of the estate and absence of a reasonable

                 likelihood of rehabilitation;

                failure timely to pay taxes owed after the date of the order for relief; and

                failure to file a disclosure statement, or to file or confirm a plan, within the time fixed

                 by this title or by order of the court.

           41.       A chapter 11 case may be converted or dismissed for continuing loss to or

diminution of the estate and absence of a reasonable likelihood of rehabilitation. “The purpose of

this ground is to prevent the debtor-in-possession from gambling on the enterprise at the creditors’

expense when there is no hope of rehabilitation.” In re AdBrite Corp., 290 B.R. 209, 215 (Bankr.

S.D.N.Y. 2003) (internal quotations omitted).

           42.       A court may also convert or dismiss a chapter 11 case for the “inability to effectuate

a plan.” “‘Inability to effectuate a plan’ means that the debtor lacks the ability to formulate a plan

or to carry one out.” Id. at 216.

           43.       Further, a debtor’s pre-filing delay may also constitute cause for conversion. Id.



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           44.      In addition to the for-cause conversion grounds enumerated in § 1112(b), a court

may also “consider other grounds and use its equitable powers to reach an appropriate result” when

considering conversion, include the debtor’s lack of good faith in filing the petition. Id. at 216-17.

           45.      “The most common equitable ground for conversion or dismissal is a lack of good

faith on the part of the debtor. An implicit requirement to the right to file is good faith on the part

of the debtor, the absence of which may constitute grounds for dismissal under § 1112(b). Factors

relevant to a determination of whether a Chapter 11 petition was filed in good faith include (1)

whether the debtor had any assets, (2) whether the debtor had an ongoing business to reorganize,

and (3) whether there was a reasonable probability of a plan being proposed and confirmed.” Id.

at 218.

           46.      Indicia of bad faith include the following:

                The prepetition conduct of the debtor has been improper;

                There are few debts to non-moving creditors;

                The petition was filed on the eve of foreclosure;

                The foreclosed property is the sole or major asset of the debtor;

                The debtor has no ongoing business or employees;

                There is no possibility of reorganization;

                The debtor’s income is not sufficient to operate; and

                The debtor filed solely to create the automatic stay.

Id.

           47.      This case checks every one of the indicia of bad faith described above. (1) Debtor’s

prepetition conduct improperly included two previous bad faith bankruptcy cases between her and

Lopa, both filed on the eve of foreclosure for the purpose of enjoining the foreclosure, and both


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dismissed because of each of the debtors’ failure to comply with requirements of being in

bankruptcy. 1 (2) The scheduled debt to non-moving creditors is $1,743, compared to the $2.8

million owed to Lender. (3) Debtor’s second (and Borrowers’ third) bankruptcy petition was filed

on the eve of Lender’s continued attempt to foreclose its security interest in the Property. (4) The

Property is Debtor’s sole or major asset. (5) Debtor has no ongoing business or employees. (6)

There is no possibility of reorganization. (7) The Debtors’ income (totaling $320 from November

2023 through April 2024) is totally insufficient to operate. (8) Debtor filed solely to create the

automatic stay.

           48.    Upon determination of cause, “the court must decide whether conversion or

dismissal is the appropriate path.” In re Babayoff, 445 B.R. 64, 81 (Bankr. E.D.N.Y. 2011).

“Conversion supports the Bankruptcy Code policy of vigorous maximization of the value of the

economic enterprise.” Id. at 82 (internal quotations omitted). “Value also may be created where,

by converting the case, an orderly liquidation of the debtor’s assets will occur and a prompt

conclusion to the bankruptcy process may be anticipated.” Id.

           49.    This case should be converted so that Borrowers cannot continue to take turns filing

separate bad faith bankruptcy cases that prevent Lender from the legitimate foreclosure of its

security interest in the Property. Conversion is favored by and in the best interests of all creditors

(Lender being by far the largest) and the estate as it will allow an unbiased officer of the court—a

chapter 7 trustee—to obtain possession of and administer the Property.




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 “[M]ultiple bankruptcy filings by different family members to invoke the protection of the automatic stay and prevent
an impending foreclosure on a commonly held property” is an abuse of the Bankruptcy Code and “the actions of each
family member should be imputed to the others” when determining whether a bankruptcy petition was filed in bad
faith. In re Felberman, 196 B.R. 678, 683–84 (Bankr. S.D.N.Y. 1995).

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                                     V.      CONCLUSION

           50.   As detailed above, the Third Bankruptcy should be converted to a case under

chapter 7 so that a chapter 7 trustee can control and administer the Property and the bankruptcy

estate. Lender respectfully requests the Court grant the Motion in its entirety, together with such

other and further relief as the Court deems just and proper.


Dated: June 7, 2024
                                              Respectfully submitted,

                                              POLSINELLI PC

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